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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


   DONALD J. TRUMP FOR PRESIDENT,
   INC., REPUBLICAN NATIONAL
   COMMITTEE, NEW JERSEY
   REPUBLICAN STATE COMMITTEE,
                                             No. 3:20-cv-10753-MAS-ZNQ
                      Plaintiffs,
          v.
                                             PLAINTIFFS’ MEMORANDUM OF LAW
   TAHESHA WAY, in her official capacity     IN SUPPORT OF MOTION FOR ORDER
   as Secretary of State of New Jersey,            TO SHOW CAUSE WHY A
                                             PRELIMINARY INJUNCTION SHOULD
                      Defendant.                         NOT ISSUE
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                                          INTRODUCTION
         On the eve of the November 2020 election, New Jersey decided to hastily rewrite its

  election code with new legislation—A4475—that provides for universal vote-by-mail balloting,

  and impermissibly extends Election Day both forward and backward from its statutorily mandated

  date. In its haste, New Jersey has opened the door to voter fraud and widespread confusion in the

  upcoming election.

         Sadly, voter fraud is an unfortunate tradition in the Garden State. Countless individuals

  have been convicted of voter fraud tied to absentee ballots over the last decade. Not surprisingly,

  fraud and other irregularities plagued the State when the Governor ordered universal vote-by-mail

  in May of this year in response to COVID-19. The Attorney General has charged four individuals

  in Paterson, NJ—including one sitting city council member and one candidate for city council who

  nominally won his race—on charges arising from a scheme to collect and illegally mail in hundreds

  of ballots in that election. That scheme led to a crisis in Paterson, requiring that the city hold

  another election between the indicted candidate and his opponent because it is impossible to

  determine just how many fraudulent ballots were cast. That regretful episode in Paterson should

  have been a warning sign suggesting that the State proceed with caution. Yet the State blew

  through that warning sign by expanding universal vote-by-mail to the entire state for the November

  election.

         New Jersey compounded this problem by altering its Election Day deadlines. In a trio of

  statutes, Congress has set a uniform election day for Americans to cast their votes for congressional

  and presidential candidates. Congress passed those statutes to end the practice where States voted

  on different dates, and early vote counts influenced how later-voting Americans cast their ballots,

  and to combat fraud. A4475 conflicts with those statutes in two ways. First, it allows New Jersey

  election officials to begin counting votes 10 days before Election Day. Second, it allows New

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  Jersey voters to cast ballots after Election Day because officials must accept unpostmarked ballots

  up to two days after the polls close. These provisions establish conditions likely to incentivize and

  facilitate the same kind of fraud and confusion that have plagued New Jersey elections for years.

  As a result, they should be enjoined.

                                           BACKGROUND

         A.       Congress has established one uniform, national Election Day to combat
                  undue influence and fraud.

         Though the Elections Clause grants states power to set the time, place, and manner of

  congressional elections, U.S. Const. art. I, §4, cl. 1, it also subordinates that power to federal law.

  The Clause expressly reserves to “Congress” the power to “at any time by Law make or alter such

  Regulations, except as to the Places of chusing Senators.” Id. Congress also bears similar power

  under the Electors Clause to “determine the Time of chusing the Electors” for the offices of

  President and Vice President. Id. art. II, §1, cl. 4. “[T]hese comprehensive words embrace authority

  to provide a complete code for congressional elections, not only as to times and places, but in

  relation to notices, registration, supervision of voting, protection of voters, prevention of fraud and

  corrupt practices, counting of votes, duties of inspectors and canvassers, and making and

  publication of election returns.” Smiley v. Holm, 285 U.S. 355, 366 (1932). Legislation enacted

  pursuant to this authority protects “the fundamental right [to vote] involved.” Id.; Ex parte Siebold,

  100 U.S. 371, 382 (1879) (noting Congress’s power to set the time of elections protects the “rights

  of citizens to vote”); and is therefore judicially enforceable in a suit brough under Section 1983,

  see Foster v. Love, 522 U.S. 67 (1997) (adjudicating challenge to State statutes allegedly in conflict

  with the uniform Election Day brought under Section 1983); Millsaps v. Thompson, 259 F.3d 535,

  542 (6th Cir. 2001) (same); Voting Integrity Project, Inc. v. Bomer, 199 F.3d 773, 774 (5th Cir.

  2000) (same).


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          Plaintiffs’ claims here arise from federal statutes embodying a crucial exercise of those

  powers: Congress’s decision to establish “the Tuesday next after the 1st Monday in November” as

  the uniform, national “day for the election” of members of Congress, 2 U.S.C. §7; see id. §1, and

  for appointing electors for President and Vice President, 3 U.S.C. §1. This trio of statutes

  “mandates holding all elections for Congress and the Presidency on a single day throughout the

  Union.” Foster, 522 U.S. at 70. And they are valid exercises of Congress’s power. “By establishing

  a particular day as ‘the day’ on which these actions must take place, the statutes simply regulate

  the time of the election, a matter on which the Constitution explicitly gives Congress the final say.”

  Id. at 71-72; see also Voting Integrity Project, Inc. v. Keisling, 259 F.3d 1169, 1170 (9th Cir. 2001)

  (“Without question, Congress has the authority to compel states to hold these elections on the dates

  it specifies.”).

          These statutes serve sound policy goals. A uniform, national Election Day prevents “the

  distortion of the voting process threatened when the results of an early federal election in one State

  can influence later voting in other States.” Foster, 522 U.S. at 73. Before Congress adopted a

  uniform Election Day during the Reconstruction era, the “diversity of” federal election dates gave

  “‘some states’” and “‘some parties’” an “‘undue advantage’”; as one Senator from Maine put it

  when opposing a uniform Election Day, “‘we want in the future, as we have had in the past, the

  position of indicating to the country the first sentiment on great political questions.’” Keisling, 259

  F.3d at 1173. Beyond that, Congress established a uniform, national Election Day as a “‘check to

  frauds in elections, to double voting, to the transmission of voters from one State to another, and

  [to] allow the people to vote for their Representatives undisturbed by considerations which they

  ought not to take at all into account.’” Id. at 1174 (quoting Cong. Globe, 42 Cong., 2d Sess. 618

  (1872)); see also id. at 1172-73 (uniform election day proposed as solution to “great frauds”



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  committed in presidential elections (quoting Cong. Globe, 28th Cong., 2d Sess. 15 (1844)));

  Millsaps, 259 F.3d at 541 (“[A] review of the legislative history of these provisions demonstrates

  that Congress wanted to prevent States that voted early from unduly influencing those voting later

  [and] to combat fraud by minimizing the opportunity for voters to cast ballots in more than one

  election.”).

          B.     New Jersey has a well-documented history of voter fraud tied to mail-in
                 ballots.

          New Jersey has a long history of problems with voting and voting by-mail in particular. To

  start with, the state has had issues with keeping accurate voter rolls. One study in 2005 found that

  4,755 people who were listed as deceased voted in the 2004 general election. David W. Chen,

  Among Voters in New Jersey, G.O.P. Sees Dead People, New York Times (Sept. 16, 2005),

  https://nyti.ms/3g2mZW2 (attached as Ex. 1). And 4,397 people who were registered to vote in

  more than one county voted twice. Id. Another study in 2016 found a full 2,460 active voters who

  had been dead for at least five years, and nearly sixty of them had apparently cast votes after they

  died. Paul D’Ambrosio & Susanne Cervenka, NJ dead are registered voters, but no evidence of

  fraud, Asbury Park Press (Oct. 19, 2016), https://bit.ly/31257qm (attached as Ex. 2). The study

  also found that there were 920 active voters that were ostensibly 106 years old or older. Id.

          New Jersey also had issues with undeliverable and misplaced ballots. New Jersey

  conducted a universal vote-by-mail election during the July primary. See Exec. Order No. 144

  (May 15, 2020), https://bit.ly/34293Jq. In Hunterdon County, for example, 1,500 ballots were

  returned as undeliverable. See Katie Kausch, Can Vote-by-mail Be Fixed for November Election?

  Election Officials Warn of Problems, NJ.com (July 25, 2020), https://bit.ly/3461III (attached as

  Ex. 3). Just last week, Sussex County discovered 1,666 ballots from the July 7 primary in a

  mislabeled bin, and then still chose to canvass them. K. Morel, 1,666 uncounted Sussex County


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  ballots from July primary just found in ‘mislabeled’ bin, N.J. Herald (Sept. 14, 2020),

  https://njersy.co/3hyzGZq (attached as Ex. 4). And there were numerous reports of stacks of

  ballots being left in apartment buildings. See, e.g., D. Wildstein Reports of vote-by-mail ballots

  undelivered, tossed aside by postal workers, N.J. Globe (April 25, 2020), https://bit.ly/32vae2V

  (attached as Ex. 5). In the end, there were over 5.5 million people that the Secretary of State

  deemed entitled to vote in that election, yet only 1.47 million of them actually returned their

  ballots. Secretary of State Tahesha Way, Official Primary Election Turnout (Aug. 26, 2020),

  https://bit.ly/33r00Ql (attached as Ex. 6). That means millions of ballots left election officials’

  custody and were never returned.

         Voter fraud is likewise notoriously common in New Jersey. Consider just a few examples

  over the last decade.

         •   In 2010, over a dozen people were arrested and charged with voter fraud and tampering

             with absentee ballots to get Councilman Rigo Rodriguez elected in Paterson, New

             Jersey. Councilman Rodriguez won the election by just 41 votes in a recount after 49

             previously uncounted absentee ballots were included in the final tally. Joe Malinconico,

             Councilman and Wife Arrested in Voter Fraud Case, TAP into Paterson (Dec. 2, 2010),

             https://bit.ly/2Y7gIlV (attached as Ex. 7). He and his wife were later arrested on

             charges of witness tampering in an effort to cover up the voter fraud. Id. Rodriguez

             ended up serving his entire four-year city-council term before agreeing to a permanent

             ban from holding office in exchange for the charges to be dropped. David Wildstein,

             Patterson:    The   Rigo    Rodriguez       story,   N.J.   Globe   (June   26,   2020),

             https://bit.ly/2EoN4BE (attached as Ex. 8).

         •   In 2012, a Belleville resident was found guilty of election fraud, conspiracy, absentee-



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            ballot fraud, forgery, and tampering with public records or information. N.J. Office of

            the Atty’ Gen., Former Campaign Worker in Essex County Convicted at Trial of

            Engaging in Ballot Fraud in 2007 Races in 29th Legislative District, NJ.gov (Sept. 28,

            2012), https://bit.ly/3asBJfS (attached as Ex. 9). Along with his co-conspirators, he

            tampered with documentation for absentee ballots in the November 2007 general

            election by submitting ballots on behalf of voters who had never received a ballot nor

            cast a vote. Id.

        •   In 2015, a Hoboken resident pleaded guilty to using the mail system to aid a voter-

            bribery scheme. Corey McDonald, Hoboken man pleads guilty to participating in 2015

            vote-by-mail fraud scheme, Hudson Cty. View (Oct. 8, 2019), https://bit.ly/312MkLz

            (attached as Ex. 10). He provided voters with applications for mail-in ballots, offered

            them payment for casting them for a certain candidate, reviewed the ballots, and then

            delivered funds to voters after the election. Id.

        •   In 2018, another Hoboken resident pleaded guilty to conspiracy to use mail to promote

            a voter bribery scheme during the 2013 municipal election. John Heinis, Feds:

            Hoboken woman pleads guilty to promoting vote-by-mail fraud scheme, Hudson Cty.

            View (Nov. 8, 2018), https://bit.ly/3h26hHS (attached as Ex. 11). She and her

            associates (at the direction of a city council candidate) agreed to pay voters $50 each

            in exchange for mail-in votes. Id. The city council candidate was convicted the

            following year due to the scheme. Ron Zeitlinger, Raia sentenced to 3 months in prison

            for Hoboken cash-for-votes scheme, NJ.com (Dec. 2, 2019), https://bit.ly/2CB8JGo

            (attached as Ex. 12).

        •   In 2019, Elmwood Park’s mayor resigned from his position in the face of charges of



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             election fraud. Jerry DeMarco, Elmwood Park Mayor Charged with Voter Fraud,

             Resigns, Brook-Elmwood Daily Voice (Apr. 29, 2019), https://bit.ly/3g0wJ3o

             (attached as Ex. 13). Investigators determined that between March 2017 and November

             2018, the mayor “had interfered with the secrecy of the election process by completing

             portions of the application for vote by mail ballot, primary election ballot certifications

             and general election ballot certifications of registered voters in the borough.” Id.

  These are just a handful of the many examples of voter fraud and impropriety that have occurred

  in New Jersey in recent memory. See Election Fraud Cases, New Jersey, The Heritage Foundation,

  https://herit.ag/2DNVGC8 (collecting cases); Jon Levine, Confessions of a voter fraud: I was a

  master at fixing mail-in ballots, N.Y. Post (Aug. 29, 2020), https://bit.ly/33pRDV7.

         Given New Jersey’s long history of voter fraud, it is unsurprising that Governor Murphy’s

  forced switch to universal vote-by-mail earlier this year ended poorly. On March 19, the Governor

  ordered that all pending elections would occur on May 12 and that the elections “shall be conducted

  solely via vote-by-mail ballots, which will automatically be sent to all registered voters without

  the need for an application to receive a vote-by-mail ballot.” Exec. Order No. 105 (Mar. 19, 2020),

  https://bit.ly/2DYUeNd. Over 30 municipalities held nonpartisan municipal, school board, or

  special elections completely by mail on May 12. The results were disastrous. To start with, ten

  percent of ballots that were cast were invalidated. Colleen O’Dea, One in 10 Ballots Rejected in

  Last Month’s Vote-by-Mail Elections, N.J. Spotlight (June 10, 2020), https://bit.ly/2PZCZxq

  (attached as Ex. 14). That is more than 3 times as many invalidated mail-in votes as the 2018

  general election in New Jersey. Id.

         But those statistics don’t even begin to reveal the extent of the voter fraud that stemmed

  from the Governor’s March order. Consider the City of Paterson. There, Alex Mendez beat his



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  opponent Bill McKoy by merely 240 votes in a bid for a city council seat. David Wildstein,

  Evidence of massive voter fraud in Paterson election, court records show, N.J. Globe (June 14,

  2020), https://bit.ly/312nrzD (attached as Ex. 15). Almost immediately, however, officials

  encountered evidence of massive voter fraud. It began with the discovery of nearly 900 votes that

  were mailed in bulk from three individual mailboxes, including more than 300 ballots that came

  from a single mailbox all rubber-banded together. Id.

         Next, there were widespread reports of people being listed as having voted, but who say

  they never even received their ballots. J. Dienst and J. Valiquette, Corruption Allegations Keep

  Growing in Paterson Vote-By-Mail Election, NBC News N.Y. (May 13, 2020),

  https://bit.ly/3fWilc9 (attached as Ex. 16). One woman was shown an official list of people who

  voted that lived on her block. She confirmed that there were eight people on the list, plus herself,

  who she knows didn’t vote. Id. A councilman reported he knew of at least another dozen cases of

  the same thing happening. Id.

         In the weeks following the election, the New Jersey Attorney General conducted an

  investigation into voter fraud and discovered an illegal conspiracy to get Mendez elected. Evidence

  of massive voter fraud, supra, Ex. 15. McKoy’s attorneys revealed the AG’s findings in a lawsuit

  to challenge the election’s outcome. The election, they explained, “was rife with nonfeasance,

  malfeasance, and straight up voter fraud. It was a failure at every level, from the mailing of VBMs

  to their delivery, from the actual casting of the ballots to the receiving of same by the Board of

  Elections and their counting.” Id. In particular, a campaign worker for Mendez “confessed to

  investigators working on behalf of the [New Jersey Attorney General’s] office to having stolen

  ballots out of mailboxes, both completed and uncompleted, on behalf of and at the direction of the

  Mendez campaign.” Id.



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         On June 25, the Attorney General charged Mendez, a sitting councilmember, and two

  others with multiple felonies related to election fraud, including illegally collecting absentee

  ballots and submitting fraudulent voter registrations. J. Dienst, Paterson City Council Vice

  President Among 4 Charged With Voting Fraud in May Special Election: NJ AG, NBC News N.Y.

  (June 25, 2020), https://bit.ly/31Qengk (attached as Ex. 17). Yet despite his indictment and the

  extensive evidence of voter fraud, Mr. Mendez refused to withdraw his candidacy and still planned

  to take office on July 1. That lead to a New Jersey judge issuing an injunction preventing Mendez

  from doing so. In issuing his decision, the judge explained:

         I don’t see how I could let the people of Paterson have to accept the fact that this
         was a fair and free election, that it was a full expression of their intent. … I just
         think it would be a tremendous undermining of the voting system, the public trust
         to let Mr. Mendez be sworn in tomorrow.

  J. Dienst, Judge Blocks Paterson Councilman-Elect Facing Voter Fraud Charges From Taking

  Office, NBC News N.Y. (June 30, 2020), https://bit.ly/310AT6R (attached as Ex. 18). So instead

  of declaring McKoy the winner, and with charges pending against Mendez, Paterson will conduct

  another election for the council seat. J. Malinconico, Bitter rivals agree to ‘do-over’ in disputed

  Paterson election, Paterson Press (Aug. 11, 2020), https://njersy.co/345qyZw (attached as Ex. 19).

         C.      The perils of hastily moving to universal vote-by-mail without the necessary
                 safeguards.

         A4475 is part of a broader push to advance the electoral prospects of the Governor’s

  political party. Much of the move toward universal vote-by-mail has been driven by litigation

  initiated by the Democratic Party in reaction to COVID-19. The Democratic National Committee,

  state Democratic parties, and several affiliated groups have filed lawsuits across the country to

  force a hurried transition to universal vote-by-mail and to remove the safeguards meant to protect

  the integrity of the ballot. Democrats have pushed for these changes long before COVID-19. But

  unable to persuade legislatures, Democrats have turned to the courts and, like here initially, the

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  executive branch of the state. See, e.g., Eric Holder: Here’s How the Coronavirus Crisis Should

  Change U.S. Elections—For Good, TIME (Apr. 14, 2020), bit.ly/3eAiW2W (“Coronavirus gives

  us an opportunity to revamp our electoral system ….” (emphasis added)). According to the

  Democrats’ top lawyer—who represents intervenor DCCC in this case, see Doc. 10—“If [these

  lawsuits] gain 1 percent of the vote [for Democrats], that would be among the most successful

  tactics that a campaign could engage in.” Marc E. Elias, Twitter (May 3, 2020), bit.ly/2XiI74A.

         But COVID-19 is no basis to throw out longstanding safeguards that protect the integrity

  of elections. In fact, it makes those safeguards more important. “As Justice Stevens noted, ‘the risk

  of voter fraud’ is ‘real.’” Texas Democratic Party v. Abbott, 961 F.3d 389, 413 (5th Cir. 2020)

  (Ho, J., concurring) (quoting Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 196 (2008)

  (plurality op. of Stevens, J.)). It is widely agreed that voting by mail is “the largest source of

  potential voter fraud.” President Jimmy Carter & Secretary of State James Baker, Report of the

  Commission on Federal Election Reform, Building Confidence in U.S. Elections 46 (Sept. 2005),

  https://bit.ly/3dXH7rU (Carter-Baker Report); see also Texas Democratic Party, 961 F.3d at 414

  (Ho, J., concurring) (“[C]ourts have repeatedly found that mail-in ballots are particularly

  susceptible to fraud.”). Well-regarded commissions and groups of diverse political affiliation agree

  that “when election fraud occurs, it usually arises from absentee ballots.” Michael T. Morley,

  Election Emergency Redlines 2, https://bit.ly/3e59PY1 (Morley, Redlines) (attached as Ex. 20).

  Such fraud is easier to commit, easier to meaningfully scale, and harder to detect with absentee

  voting than in-person voting sites. Ballots are sometimes “mailed to the wrong address or to large

  residential buildings” and “might get intercepted.” Carter-Baker Report 46. Absentee voters “who

  vote at home, at nursing homes, at the workplace, or in church are more susceptible to pressure,

  overt and subtle, or to intimidation.” Id. And “[v]ote buying schemes are far more difficult to detect



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  when citizens vote by mail.” Id. After all, “absentee voting is to voting in person as a take-home

  exam is to a proctored one.” Griffin v. Roupas, 385 F.3d 1128, 1131 (7th Cir. 2004).

          This risk of abuse is magnified by the fact that “many states’ voter registration databases

  are outdated or inaccurate.” Morley, Redlines 2. A 2012 study from the Pew Center on the States

  found that “[a]pproximately 24 million—one of every eight—voter registrations in the United

  States are no longer valid or are significantly inaccurate”; “[m]ore than 1.8 million deceased

  individuals are listed as voters”; and “[a]pproximately 2.75 million people have registrations in

  more than one state.” The Pew Center on the States, Inaccurate, Costly and Inefficient: Evidence

  that America’s Voter Registration System Needs an Upgrade 1 (Feb. 2012), https://bit.ly/2FpyLhj

  (attached as Ex. 21). Because of these widespread inaccuracies in a state’s voter registration

  records, a state that sends ballots to all registered voters will necessarily send ballots to persons

  ineligible to vote or others with fake registrations, invalid registrations, outdated registrations, and

  to the deceased. Placing hundreds of thousands of ballots “outside of both election officials’

  control and the hands of the voters who are supposed to be casting them raises a serious threat to

  both the actual and perceived integrity of the electoral system.” Morley, Redlines 3.

          These risks explain why, in most states, by-mail voting is a limited alternative to in-person

  voting and supported by numerous safeguards. And it also explains why the few states that

  routinely conduct universal vote-by-mail did not “just flip a switch.” Lisa Lerer, Washington:

  Where Everyone Votes By Mail, N.Y. Times (Apr. 15, 2020), nyti.ms/2ZRfmNZ. The transition to

  universal vote-by-mail elections requires entirely new systems to track and count ballots, new

  equipment, and massive training and voter-education efforts. Washington, for example, planted

  the seeds for universal vote-by-mail elections more than a decade before a five-year transition to

  100% mail-in voting. See id. That deliberate transition allows states to ensure the integrity of



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  elections and prevent the kinds of voter fraud that can plague mail-in voting.

         D.      New Jersey has authorized a universal vote-by-mail general election,
                 counting votes before Election Day, and accepting votes cast after Election
                 Day.

         As a general matter—at least until now—the New Jersey Legislature has chosen not to

  conduct universal vote-by-mail elections, or to automatically send absentee ballots to all voters.

  Instead, New Jersey law contains two sets of statutes governing mail-based voting, both of which

  require mailed ballots to be either be received or postmarked by election day.

         The first set, New Jersey Statutes §19:63-3, allows voters to cast application-based mail-

  in ballots, commonly known as absentee ballots, as an alternative to in-person voting in any

  election. Importantly, all such ballots must be received by the close of the polls to be counted, N.J.

  Stat. §19:63-18, or postmarked by election day and received “within 48 hours after the time of the

  closing of the polls” to be counted, id. §19:63-22.

         The second set of provisions governs universal vote-by-mail-in elections. N.J. Stat. §19:62-

  1. Until now, New Jersey has allowed vote-by-mail elections in very limited circumstances: only

  for municipalities that have a “population of 500 or fewer persons” and even then only where the

  governing bodies of those municipalities affirmatively vote to allow them. Id. In such elections,

  the mailed ballots must be “received by the county board of elections no later than the time

  established for the closing of the polls for that election.” N.J. Stat. §19:62-10(a).

         On August 14, however, Governor Murphy issued Executive Order 177 (“EO 177” or

  “Order”), which suspended and rewrote New Jersey’s election laws for the November 3 election.

  Exec. Order No. 177 (Aug. 14, 2020), https://bit.ly/30ZjBaj. The Order, among other things,

  mandated that “[t]he November General Election shall be conducted primarily via vote-by-mail

  ballots, which will be sent to all ‘Active’ registered voters without the need for an application to

  receive a vote-by-mail ballot.” Id. ¶1. It mandated that “vote-by-mail ballots shall be mailed to all

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  ‘Active’ voters on or before the 29th day before the November General Election.” Id. ¶11. And all

  “return envelopes shall have prepaid First-Class postage in order to facilitate the proper delivery

  of all cast vote-by-mail ballots.” Id. ¶2.

          The Order further suspended the ballot-return deadline in N.J. Stat. §19:63-22, and

  provided that “[e]very vote-by-mail ballot that is postmarked on or before November 3, 2020, and

  that is received by November 10, 2020, at 8:00 p.m. shall be considered valid and shall be

  canvassed, assuming the ballot meets all other statutory requirements.” Id. ¶14. And “every ballot

  without a postmark … that is received by the county Boards of Elections from the United States

  Postal Service within forty-eight (48) hours of the closing of polls on November 3, 2020, shall be

  considered valid and shall be canvassed, assuming the ballot meets all other statutory

  requirements.” Id. To justify the Order, Governor Murphy stated that “even as the rate of reported

  new cases of COVID-19 decreased, the ongoing risks presented by COVID-19 have meant that

  many of the State’s current measures must remain in place.” Id. at 3. Yet the very next day, the

  Governor proclaimed that the state’s COVID-19 numbers “look very good.” N.J. Reports 7 New

  COVID-19 Deaths, 464 New Cases As Transmission Rate Stays Below Key Mark for Spread of

  Virus, NewJersey.com (Aug. 15, 2020), https://bit.ly/3h2YCsJ. And New Jersey maintained a

  transmission rate below 1 for several weeks, and was at the time reporting a transmission rate of

  0.94, meaning “the outbreak is shrinking.” Id.

          Plaintiffs filed this lawsuit on August 18 to challenge the Order on several grounds,

  including that the Governor is barred by the Elections and Electors Clauses of the U.S. Constitution

  from unilaterally changing New Jersey’s election laws. See Doc. 1. Perhaps recognizing that the

  Governor lacked authority to issue the Order, the New Jersey Legislature passed a bill that codified

  its substantive provisions. See An Act Concerning the Establishment of Mail-in Ballot Drop Boxes



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  Before Each Election and Vote-by-Mail Procedures for the November 2020 General Election, NJ

  LEGIS 72 §§2(a), (b), (m) (2020) (“A4475”). A4475 added an additional provision: it allows

  “county board[s] of elections [to] begin opening the inner envelopes and canvassing each mail-in

  ballot from the inner envelopes no earlier than ten days prior to the day of the election.” Id. §2(m)

  (codified at N.J. Stat. §19:63-31(m)). The statute, however, does not likewise allow election

  officials to begin canvassing early in-person ballots before Election Day. The Governor signed

  A4475 on August 28.

         By extending Election Day forward and backward, A4475 facilitates the precise behavior

  that the federal Election Day statutes were enacted to prevent—avoiding improper influences on

  elections, letting early returns give certain candidates or parties an advantage, and making fraud

  easier. See supra 2-4. And New Jersey’s unfortunate history with mail-in ballots show just how

  likely A4475 will be to facilitate those issues. See supra 4-9. As with the July primary, ballots will

  leave election officials’ custody, the majority of which the intended recipients don’t even want.

  Supra 5. That will lead to millions of available ballots that can repurposed—as they were in

  Paterson—if the canvass for a particular candidate before the election or the result on Election Day

  do not turn out well.

         E.      Ballots mailed after Election Day will arrive in time to be counted—and some
                 of those will not have postmarks.

         A4475’s very existence confirms that New Jersey policymakers expect ballots with no

  postmarks to be received after Election Day. Plaintiffs share that expectation.

         The U.S. Postal Service’s general policy is not to apply postmarks to postage prepaid

  envelopes. See U.S. Postal Serv., Handbook PO-408 §1-1.3 Postmarks (“Postmarks are not

  required for mailings bearing a permit, meter, or precanceled stamp for postage, nor to pieces with

  an indicia applied by various postage evidencing systems.”), https://bit.ly/3kftt7l (attached as Ex.


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  22). But USPS guidance states an exception to that general no-postmarking policy for election

  mail. Under that guidance, in place since 2018, “all ballots should be postmarked by machine or

  by hand.” Office of Inspector Gen., U.S. Postal Serv., Management Alert: Timeliness of Ballot

  Mail in the Milwaukee Processing & Distribution Center Service Area, Report No. 20-235-R20,

  5 (July 7, 2020), https://bit.ly/2YbjBT0 (attached as Ex. 23).

         But the 2020 election cycle has confirmed that—despite its policy—USPS does not

  postmark all ballots. USPS itself acknowledges that “there can be breakdowns or exceptions to

  this process which would prevent a ballot from receiving a postmark.” Id. at 7. That happened in

  Wisconsin’s April 2020 primary election, when the Milwaukee Election Office received “about

  390 voter completed ballots with varying postmark issues including illegible postmarks, lack of a

  postmark, undated postmarks, or hand-stamped postmarks.” Id. at 5. USPS explained that those

  problems could have resulted from ballots being “double fed on a machine,” or when the

  “machines applying postmarks … run out of ink,” or from ballots being “comingled with certain

  mail that is not processed on machinery that applies a postmark.” Id. at 7.

         Similar problems plagued New York’s June 2020 primary election. Six weeks after the

  primary election between Rep. Carolyn Maloney and Suraj Patel for New York’s 12th District,

  results remained unknown, so a federal district judge in New York “ordered the counting of certain

  mail ballots that arrived after Election Day but without a postmark to prove when they were sent.”

  An Autopsy of New York’s Mail-Vote Mess, Wall St. J. (Aug. 7, 2020), https://on.wsj.com/3kT7d3y

  (attached as Ex. 24). In that race, “1,135 of 8,285 absentee ballots received by the NYCBOE within

  a week of Election Day—more than 13%—were not postmarked,” while the number of

  unpostmarked ballots in another New York primary race was “nearly 10%.” Gallagher v. N.Y.

  State Bd. of Elec., — F. Supp. 3d —, 2020 WL 4496849, at *16 (S.D.N.Y. Aug. 3, 2020).



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          It is still not known why absentee ballots were delivered without a postmark to election

  officials in New York even though the Postal Service’s “policy is to postmark all ballots, and the

  city was assured it would happen.” An Autopsy of New York’s Mail-Vote Mess, supra, Ex. 24. But

  a manager at a New York postal service processing facility testified during the lawsuit over the

  absentee ballots and “offered two possibilities.” Id. “First, postmarking machines can reject mail

  if, for example, it isn’t ‘folded over properly.’ On Election Day, USPS staff were ready to grab

  bypassed ballots and postmark them by hand.” Id. That happened “‘for thousands of ballots’” on

  Election Day, but the manager “wasn’t sure…if this happened before June 23.” Id. Second, “most

  prepaid mail usually skips postmarking altogether and goes ‘directly to a sortation machine.’” Id.

  “On Election Day, USPS staff overrode that procedure and forced everything through the

  postmarking system. But again, [the manager] wasn’t sure about before June 23, saying it was

  ‘very possible’ that some ballots went straight to sorting.” Id. News reports do not disclose whether

  USPS would invoke those manual-override procedures on days after Election Day to ensure

  postmarks were affixed both to improperly folded mail and to prepaid ballots placed in the mail

  after the election.

          To this end, A4475 requires that “[a]ll vote-by-mail return envelopes shall have prepaid

  First-Class postage in order to facilitate the proper delivery of all cast vote-by-mail ballots.” A4475

  §2(b) (codified at N.J. Stat. §19:63-31(b)). The USPS has confirmed that “all Election Mail

  (including ballots) mailed from individual voters to state or local election officials must be sent by

  First-Class Mail.” Ltr. From Thomas J. Marshall, Gen. Counsel, U.S. Postal Serv., Re: Election

  Mail, 1 (May 29, 2020), https://bit.ly/2QvyBqw (attached as Ex. 25). And at least some first-class

  mail sent in New Jersey on a Wednesday will arrive the next day. See U.S. Postal Serv., FAQs:

  Types of First-Class Mail?, Article No. 000003138 (Jan. 26, 2020), https://bit.ly/2EyfERB



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  (attached as Ex. 26) (“In some instances (short distance between ZIP CodesTM), it is possible for

  [first-class] delivery to occur in one day.”). That means some votes cast the day after Election Day

  will be counted in New Jersey.

                                          LEGAL STANDARD
          Plaintiffs are entitled to a preliminary injunction if “(A) they are likely to succeed on the

  merits of their claims, (B) they are likely to suffer irreparable harm without relief, (C) the balance

  of harms favors them, and (D) relief is in the public interest.” Issa v. Sch. Dist. of Lancaster, 847

  F.3d 121, 131 (3d Cir. 2017). To establish a likelihood of success in this circuit, “the movant need

  only prove a ‘prima facie case,’ not a ‘certainty’ she’ll win.” Id.; see also id. (“We do not require

  that the right to a final decision after trial be ‘wholly without doubt’; the movant need only show

  a ‘reasonable probability’ of success.”).

                                              ARGUMENT
  I.      Plaintiffs are likely to succeed because A4475 violates federal law.

          Though the Elections Clause grants states power to set the time, place, and manner of

  congressional elections, U.S. Const. art. I, §4, cl. 1, it also subordinates that power to federal law.

  The Clause expressly reserves to “Congress” the power to “at any time by Law make or alter such

  Regulations, except as to the Places of chusing Senators.” Id. Congress also bears similar power

  under the Electors Clause to “determine the Time of chusing the Electors” for the offices of

  President and Vice President. Id. art. II, §1, cl. 4. To this end, Congress passed a trio of statutes

  that “mandate[] holding all elections for Congress and the Presidency on a single day throughout

  the Union.” Foster, 522 U.S. at 70; see supra 2-4. That Election Day is both “binding on the States”

  and superior to conflicting state law: “[T]he regulations made by Congress are paramount to those

  made by the State legislature; and if they conflict therewith, the latter, so far as the conflict extends,



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  ceases to be operative.” Foster, 522 U.S. at 69 (quoting Ex parte Siebold, 100 U.S. at 384). As

  discussed above, regulations made by Congress pursuant to the Elections and Qualifications

  Clauses protect the “right of suffrage … a fundamental article of republican government.” Arizona

  v. Inter Tribal Council of Arizona, Inc., 570 U.S. 1, 26 (2013) (quoting Federalist No. 52).

  Preemption thus applies with particular force under the Elections Clauses because “[i]n contrast to

  the Supremacy Clause, which addresses preemption in areas within the states’ historic police

  powers, the Elections Clause affects only an area in which the states have no inherent or reserved

  power: the regulation of federal elections.” Gonzalez v. Arizona, 677 F.3d 383, 392-93 (9th Cir.

  2012). In consequence, “the ‘presumption against preemption’ and ‘plain statement rule’ that guide

  Supremacy Clause analysis are not transferable to the Elections Clause context.” Id. (quoting

  Harkless v. Brunner, 545 F.3d 445, 454 (6th Cir. 2008)).

          A. Federal law prohibits counting ballots until Election Day.

         Section 2(m) of A4475 extends election day in New Jersey forward in time in direct conflict

  with federal law setting a uniform national Election Day. The bill allows for mail-in ballots to be

  canvassed up to ten days before the election. But this early counting reintroduces precisely the

  problem Congress sought to remedy in creating a uniform federal Election Day. Congress has set

  the “Tuesday next after the 1st Monday in November” as “the day for the election” of members of

  Congress. 2 U.S.C. §7. The text and legislative history of this provision demonstrate that New

  Jersey’s attempt to count votes prior to the uniform Election Day conflicts with Congress’s

  designation of a single national Election Day.

         Consider first the text and structure of the federal election day provisions. The word “day”

  in 2 U.S.C. §7 is modified by “the,” demonstrating the term is meant as a singular moment in

  time—one single election day, and no other. Moreover, within the same provision, Congress uses



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  the term “commencing” to describe the start of a new congressional session. By contrast, Congress

  uses no such indefinite term to describe Election Day, which is not a process spread over time,

  commencing on a certain day, but is a definite period—“the” Election Day. The structure of federal

  election law confirms this interpretation. 3 U.S.C. §1 states that presidential electors “shall be

  appointed … on the Tuesday next after the first Monday in November.” Like 2 U.S.C. §7, this

  provision sets one particular day, and only one day, as the time to appoint presidential electors.

  Additionally, 3 U.S.C. §7 allows States to “direct” where presidential electors are to meet, 3 U.S.C.

  §2 allows States to appoint electors in such a “manner” as the State directs if they fail to “on the

  day prescribed by law,” and 2 U.S.C. §8 allows States to prescribe the manner of the election if

  they fail to make a selection on the uniform Election Day. But nowhere are States given any

  discretion whatsoever on the timing of the uniform Election Day itself. Federal law is clear—the

  “choice” is to be made “on the day prescribed by law”—and not sooner. 3 U.S.C. §2; see also

  Foster, 522 U.S. at 70 (federal election law “mandates holding all elections for Congress and the

  Presidency on a single day throughout the Union”).

         Legislative history confirms the plain meaning apparent from the text and structure. See

  Foster, 522 U.S. at 73 (noting that “Congress’s object” was “to remedy more than one evil arising

  from the election of members of Congress occurring at different times in the different States”

  (quoting Ex parte Yarbrough, 110 U.S. 651, 661 (1884))). Prior to the adoption of the uniform day

  of election in the Reconstruction Era, Congress had long been concerned about some states

  allowing multi-day voting in federal elections. For example, in an 1844 debate, Virginia’s multi-

  day voting was a particular target for derision because “it frequently happened that all the votes

  were not polled in one day.” Cong. Globe, 28th Cong., 2d. Sess. 15 (1844). Such multi-day voting

  led to great “fraud” that could only be remedied by making the election “time … uniform in the



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  States.” Id. at 29. It was Reconstruction and the vast potential for voter fraud and

  disenfranchisement—facilitated by multi-day voting—that provided the impetus to finally end the

  practice by creating a uniform national election day.

          Foremost in Congress’s mind was the danger of some states counting votes early: “the

  distortion of the voting process threatened when the results of an early federal election in one State

  can influence later voting in other States.” Foster, 522 U.S. at 73 (citing Cong. Globe, 42d Cong.,

  2d Sess., 141 (1871) (remarks of Rep. Butler)). Congress thus set a single Election Day to prevent

  “a canvass going on all over the Union at different times,” that would lead to “news from … States

  that held their elections prior to the presidential election” reaching States that voted later, which

  improperly granted those early canvassing states “an influence” on the outcome of the election.

  Id.; see also Cong. Globe, 42 Cong., 2d Sess. 618 (“Whenever you provide that elections shall take

  place upon the same day, you do interpose a not inconsiderable check to frauds in elections, to

  double voting, to the transmission of voters from one State to another, and you do allow the people

  to vote for their Representatives undisturbed by considerations which they ought not to take at all

  into account.”). Moreover, Congress explicitly rejected amendments to allow for multi-day voting.

  Instead, it granted a one-time exception for the election of 1872, that would allow multi-day voting

  in States that already provided for it. Act of May 23, 1872, ch. 198, 17 Stat. 157. It is thus clear

  that Congress had the early counting of votes in mind as an evil to be remedied.

          States cannot circumvent this uniform election day by beginning to open and count mail-

  in ballots prior to election day. Cf. Foster, 522 U.S. at 72 n.4 (holding state statute allowing federal

  election to “consummated” before federal election day to be preempted). By allowing election

  officials to begin counting ballots 10 days before Election Day, A4475 runs afoul of the text and




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  purpose of federal election law.1 Indeed, even in cases upholding early and absentee voting

  generally, courts have found it relevant that the “tallying takes place on Federal Election Day”

  rather than before it. Voting Integrity Project, Inc. v. Bomer, 61 F. Supp. 2d 600, 604 (S.D. Tex.

  1999), aff’d, 199 F.3d 773 (5th Cir. 2000). It is only by counting votes on Election Day rather than

  before, that States can hope to avoid the dangers of multi-day voting that Congress sought to avoid

  in the creation of a single Election Day. See id. (“As the votes are not tallied until the designated

  Federal Election Day, the casting of early, untallied votes cannot influence later voting in other

  states.”). This Court must reject New Jersey’s attempt to circumvent federal laws protecting the

  people’s fundamental right to vote and hold that A4475’s early counting provision, Section 2(m),

  is preempted.

             B. Federal law requires that all votes be cast on or before Election Day.

         Federal law also preempts one of A4475’s ballot-deadline extensions. The word “election”

  in 3 U.S.C. §1 means the “combined actions of voters and officials meant to make a final selection

  of an officeholder.” Foster, 522 U.S. at 71. That means a mail ballot is not a legal vote unless it is

  marked and cast on or before the national Election Day, which is the date of the “‘consummation’

  of the process of selecting an official.” Keisling, 259 F.3d at 1175 (quoting id.). Moreover, a ballot

  is cast not when it is marked, but only when it is actually deposited “in the custody of election

  officials.” Maddox v. Bd. of State Canvassers, 149 P.2d 112, 115 (Mont. 1944); see also id.

  (“[V]oting is done not merely by marking the ballot but by having it delivered to the election

  officials and deposited in the ballot box before the closing of the polls on election day.”). A state

  law governing elections for federal offices “conflicts with federal law” and is therefore “void”


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            The 1872 exception to the uniform election day is instructive. That provision stated that the
  election “commenc[ed]” on the uniform election day. Act of May 23, 1872, ch. 198, 17 Stat. 157. Here,
  New Jersey seeks to commence its election early by counting ballots up to ten days before the uniform
  election day.

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  when it sets a different date for the consummation of an election than federal law. Foster, 522 U.S.

  at 74. Therefore, New Jersey cannot permit ballots cast after Election Day to be counted.

          But that is precisely what New Jersey has done in enacting A4475. The statute provides

  that “every ballot without a postmark … that is received by the county boards of elections from

  the United States Postal Service within 48 hours of the closing of polls … shall be considered valid

  and shall be canvassed.” A4475 §2(m) (codified at N.J. Stat. §19:63-31(m)). In other words,

  A4475 requires election officials to count votes that could have been cast after Election Day

  because, without a postmark, those officials have no way of confirming when a ballot has been

  cast.

          At the same time, A4475 makes it more likely that ballots will lack a legible postmark

  showing when voters mailed them. The legislation instructs election clerks to send out ballots with

  “return envelopes” that “have prepaid First-Class postage.” A4475 §2(b) (codified at N.J. Stat.

  §19:63-31(b)). The Postal Service, however, generally does not apply postmarks to postage

  prepaid envelopes. See U.S. Postal Serv., Handbook PO-408, supra Ex. 22 (“Postmarks are not

  required for mailings bearing a permit, meter, or precanceled stamp for postage, nor to pieces with

  an indicia applied by various postage evidencing systems.”). Notwithstanding the Postal Service’s

  apparent policy of disregarding that standard practice for election-related mail, see supra 14-15,

  many ballots will still show up without a postmark. The experiences in Wisconsin and New York

  confirm that the Postal Service cannot uniformly apply an exception to its default no-postmark

  policy when the number of mail ballots returned exceed historical levels by an order of magnitude.

  Id.; see Gallagher, 2020 WL 4496849, at *5 (“[T]here is uncontroverted evidence that thousands

  of absentee ballots for the June 23 Primary were not postmarked.”). And because the Post Office

  can deliver first class mail sent within a county just one day after it is mailed, see Ex. 26, at 2, that



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  means New Jersey voters can mark their mail-in ballots the Wednesday after Election Day, mail

  them, and those votes will be counted when they arrive the next day.

          A4475’s command to count ballots cast after the uniform Election Day irreconcilably

  conflicts with Congress’s decisions in 2 U.S.C. §§1, 7 and 3 U.S.C. §1 to require that “the

  combined actions of voters and officials meant to make a final selection of an officeholder” be

  “consummated” on one uniform, national Election Day. Foster, 522 U.S. at 71, 72 n.4. New

  Jersey’s election regime can no more require “the combined actions of voters and officials meant

  to make a final selection of an officeholder” to stop “prior to federal election day”—which was

  the issue in Foster—than allow those combined actions to continue after it. Id. Either type of

  regime “purport[s] to affect the timing of federal elections.” Id. at 73.

          Other statutes confirm that Congress did not intend voting to continue after Election Day.

  First, federal law specifically enumerates only two instances in which an election for federal office

  can be held at a later date: “(1) in states that required a majority vote for election, a runoff could

  be held between federal election day and January when officials take office; and (2) an election

  could be held on a different date if a vacancy occurred in the office.” See Love v. Foster, 90 F.3d

  1026, 1029 (5th Cir. 1996), aff’d, 522 U.S. 67 (1997) (citing 3 U.S.C. §8). New Jersey is not free

  to create a third “COVID” exception. That is Congress’s job. See Foster, 522 U.S. at 71-72; see

  also Keisling, 259 F.3d at 1170 (“Without question, Congress has the authority to compel states to

  hold these elections on the dates it specifies.”).

          Second, the Reconstruction Congress enacted the Act of May 23, 1872 to alleviate concerns

  that Texas could not logistically hold an election on one day given its size and lack of established

  precincts. It was “a one-time exception to the statutory and constitutional requirement for a

  uniform day for selection of electors to address the circumstances of Reconstruction-era Texas.”



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  Millsaps, 259 F.3d at 542 (citing Cong. Globe, 42d Cong., 2d Sess. 3407-08). This provision’s

  existence assumes that votes cannot be cast under any circumstances after the uniform Election

  Day, which cannot be “continued for more than one day” by a State without congressional

  permission. 17 Stat. 157. If votes could be validly cast after the uniform Election Day, this

  provision would be a nullity. Id.

         A4475 also conflicts with the sound policy goals behind the uniform Election Day, which,

  again, prevents “the distortion of the voting process threatened when the results of an early federal

  election in one State can influence later voting in other States.” Foster, 522 U.S. at 73. Before

  Congress adopted a uniform Election Day during the Reconstruction era, the “diversity of” federal

  election dates gave “some states” and “some parties” an “undue advantage.” Keisling, 259 F.3d at

  1173. Under A4475, persons dissatisfied with Tuesday’s election returns have an opening to try to

  distort and improperly influence any races whose preliminary outcomes displease them. This is

  precisely the type of fraud and gamesmanship the uniform Election Day was meant to prevent. See

  Love, 90 F.3d at 1029 (“I think it will be fair for everybody that on the day when one votes all

  should vote, and that the whole question should be decided then.” (quoting Cong. Globe, 42d

  Cong., 2d Sess. 112 (1871) (remarks of Congressman Butler))).

         In sum, because A4475’s directive to count ballots regardless of whether they were cast

  after the uniform Election Day “conflicts with federal law such that compliance with both state

  and federal regulations is impossible,” Sikkelee v. Precision Airmotive Corp., 822 F.3d 680, 688

  (3d Cir. 2016), it infringes upon Plaintiffs’ fundamental right to vote, and it “is void,” Foster, 522

  U.S. at 74.

  II.    The preliminary-injunction equitable factors favor plaintiffs.

         The recent history of voter fraud in New Jersey demonstrates that A4475 is likely to

  irreparably damage the integrity of the November election. Prior to New Jersey’s making these

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  hasty changes to its election laws, the State could neither count mail-in ballots before Election Day

  nor accept mail-in ballots without postmarks received after Election Day. A4475 thus threatens to

  confuse voters, undermine confidence in the electoral process, and create “incentive[s] to remain

  away from the polls.” Purcell v. Gonzalez, 549 U.S. 1, 4-5 (2006). And that is an irreparable harm,

  see Project Vote v. Blackwell, 455 F. Supp.2d 694, 707-08 (N.D. Ohio 2006) (that people “will

  continue to be dissuaded from engaging in an important [election-related] activity” constitutes an

  “irreparable injury”), because it “cannot be alleviated after the election,” Council of Alternative

  Political Parties v. Hooks, 121 F.3d 876, 883 (3d Cir. 1997).

         The damage to the individual, fundamental rights of Plaintiffs’ voting members is also

  irreparable. A4475 washes away many of the procedures and safeguards that the New Jersey

  Legislature enacted, inviting illegitimate practices that will dilute the votes of honest voters in

  violation of the Constitution. See, e.g., Reynolds v. Sims, 377 U.S. 533, 555 (1964). When the state

  likely violates a plaintiff’s rights concerning an election, “it clearly follows that denying

  [Plaintiffs] preliminary injunctive relief will cause them to be irreparably injured.” Hooks, 121

  F.3d at 883; see also Penn. Democratic Party v. Republican Party of Penn., 2016 WL 6582659, at

  *7 (E.D. Pa. Nov. 7, 2016) (holding “that a violation of voting rights would work an irreparable

  harm for which there is no adequate remedy at law”); Golden v. Gov’t of the Virgin Islands, 2005

  WL 6106401, at *4 (D.V.I. Mar. 1, 2005) (burdening a plaintiff’s “voting rights” is irreparable

  harm). At the very least, Plaintiffs have “demonstrated a reasonable probability,” if not a certainty,

  that many votes cast after election day will be counted in violation of federal law, thereby diluting

  the votes of Plaintiffs’ members. Issa, 847 F.3d at 142. Plaintiffs have thus demonstrated that

  “irreparable harm is ‘likely’ in the absence of relief.” Id. Defendant, however, will suffer no

  comparable injury.



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         Neither can Defendant complain about undue expense or delay, which “are likely to be

  minimal and are far outweighed by the fundamental right at issue.” United States v. Berks Cty.,

  250 F. Supp. 2d 525, 541 (E.D. Pa. 2003) (preliminarily enjoining unlawful voting procedures less

  than two months before the election in part because “Defendants still have ample time to make

  modifications”). Therefore, “[s]ince there is no basis for concluding that preliminary relief will

  negatively impact the November [2020] election, these constitutional rights can and should be

  protected immediately.” Hooks, 121 F.3d at 884.

         Finally, granting a preliminary injunction is in the public interest, which “demands respect

  for … constitutional rights.” Sypniewski v. Warren Hills Reg’l Bd. of Educ., 307 F.3d 243, 258 (3d

  Cir. 2002). “In the absence of legitimate, countervailing concerns, the public interest clearly favors

  the protection of constitutional rights, including the voting and associational rights of [Plaintiff]

  political parties, their candidates, and their potential supporters.” Hooks, 121 F.3d at 883-84.

         General speaking, the public interest obviously weighs in favor of enjoining the

  government from violating federal law. See Berne Corp. v. Gov't of Virgin Islands, 120 F. Supp.

  2d 528, 537 (D.V.I. 2000) (“[I]t is undeniable that the public interest weighs in favor of enjoining

  the government from violating federal law.”); Arizona Dream Act Coal. v. Brewer, 757 F.3d 1053,

  1069 (9th Cir. 2014) (“It is clear that it would not be equitable or in the public’s interest to allow

  the state ... to violate the requirements of federal law, especially when there are no adequate

  remedies available.”). And more specifically, there is a “compelling [public] interest in preserving

  the integrity of [the] election process”—both actual and perceived. Eu v. San Francisco Cty.

  Democratic Cent. Comm., 489 U.S. 214, 231 (1989); Crawford, 553 U.S. at 197 (plurality op. of

  Stevens, J.) (“[P]ublic confidence in the integrity of the electoral process has independent

  significance, because it encourages citizen participation in the democratic process.”). Radical,



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  abrupt, and complex changes to election law undermine integrity, see Purcell, 549 U.S. at 4-5,

  especially where the changes transparently threaten an increased risk of illegitimate voting.

  “Confidence in the integrity of our electoral processes is essential to the functioning of our

  participatory democracy. Voter fraud drives honest citizens out of the democratic process and

  breeds distrust of our government. Voters who fear their legitimate votes will be outweighed by

  fraudulent ones will feel disenfranchised.” Id. at 4; see also Benisek v. Lamone, 138 S. Ct. 1942,

  1944 (2018) (recognizing “the public interest in orderly elections”).

                                           CONCLUSION
         For these reasons, the Court should enter a preliminary injunction.



  Dated: September 16, 2020                             Respectfully submitted,

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